
56 N.Y.2d 821 (1982)
William Protzman, Respondent,
v.
State of New York, Appellant. (Claim No. 60074.)
Court of Appeals of the State of New York.
Argued May 5, 1982.
Decided June 8, 1982.
Robert Abrams, Attorney-General (Vernon Stuart and Shirley Adelson Siegel of counsel), for appellant.
Joseph L. Watson for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Judgment appealed from and order of the Appellate Division brought up for review affirmed, with costs. The determination of the Appellate Division with respect to the conflicting proof introduced more nearly conforms to the weight of the evidence.
